                                      PROPOSED ORDER/COVER SHEET

TO:             Honorable Sallie Kim                                  RE:     OTT, Russell
                U.S. Magistrate Judge

FROM:           Silvio Lugo, Chief                                    Docket No.:        3:17-cr-00533-EMC-6
                U.S. Pretrial Services Officer

Date:           8/30/18

        THE ATTACHED MEMORANDUM WAS PREPARED BY PRETRIAL SERVICES OFFICER:

                           Josh Libby                                         (415) 436-7501

              U.S. PRETRIAL SERVICES OFFICER                             TELEPHONE NUMBER

We are requesting direction from the Court. Please initial the appropriate box(es), and return this form to us so that
we may comply with your instructions.

         I have reviewed the information that you have supplied. I do not believe that this matter requires any
         action by this Court at this time.

         Inform all parties concerned that I will conduct a Bail Review Hearing in Courtroom No.
         ____________________ on ____________________ at ____________________.

         Inform all parties concerned that a Bail Review Hearing will be conducted by:
         Magistrate Judge ____________________ Presiding District Court Judge ____________________

         I agree with the recommendation of the Pretrial Services Officer and hereby modify the defendant’s
         Pretrial Release conditions as indicated below:

  X      Modification(s)

         A.       The defendant shall be subject to Global Positioning System (GPS) monitoring and he shall
                  adhere to a curfew from 9:30 p.m. to 6:00 a.m.

         Bail Revoked/Bench Warrant Issued.

         I am returning the signed order and direct that a copy be provided to the Court file and all interested
         parties(AUSA and Defense Counsel).

         Other Instructions:

         _________________________________________________________________________________

         _________________________________________________________________________________

         _________________________________________________________________________________


                                                                August 30, 2018
         JUDICIAL OFFICER                                     DATE
         Magistrate Judge Sallie Kim
